Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 1 of 24 PageID #:15841




                       Exhibit A
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 2 of 24 PageID #:15842
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 3 of 24 PageID #:15843
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 4 of 24 PageID #:15844
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 5 of 24 PageID #:15845
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 6 of 24 PageID #:15846
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 7 of 24 PageID #:15847
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 8 of 24 PageID #:15848
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 9 of 24 PageID #:15849
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 10 of 24 PageID #:15850
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 11 of 24 PageID #:15851
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 12 of 24 PageID #:15852
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 13 of 24 PageID #:15853
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 14 of 24 PageID #:15854
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 15 of 24 PageID #:15855
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 16 of 24 PageID #:15856
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 17 of 24 PageID #:15857
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 18 of 24 PageID #:15858
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 19 of 24 PageID #:15859
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 20 of 24 PageID #:15860
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 21 of 24 PageID #:15861
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 22 of 24 PageID #:15862
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 23 of 24 PageID #:15863
Case: 1:18-cv-08175 Document #: 487-1 Filed: 12/28/21 Page 24 of 24 PageID #:15864
